              Case 2:15-cr-00189-KJM Document 156 Filed 07/15/19 Page 1 of 4


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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-189 GEB

12                                Plaintiff,

13                          v.                            AMENDED STIPULATION REGARDING
                                                          EXCLUDABLE TIME PERIODS UNDER SPEEDY
14   JEREMY RAY WARREN,                                   TRIAL ACT; [PROPOSED] FINDINGS AND
                                                          ORDER
15
                                 Defendant.
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19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
20 through defendant’s counsel of record, hereby stipulate as follows:

21          1.     A status conference is currently scheduled for July 12, 2019.
22          2.     By this stipulation, the defendant now moves to vacate the current status conference and
23 set a new status conference for July 26, 2019, and to exclude time between July 11, 2019 and July 26,

24 2019 under the Local Code T-4 (to allow defense counsel time to prepare). The parties agree and

25 stipulate, and request the Court find the following.

26                 a. Counsel for the defendant was appointed on May 25, 2018.
27                 b. The government has produced approximately 1,300 pages of discovery and 26 audio
28                     files.

      Stipulation and [Proposed] Order                    1
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              Case 2:15-cr-00189-KJM Document 156 Filed 07/15/19 Page 2 of 4


 1                  c. Counsel for the defendant needs additional time to review the discovery, conduct

 2                     investigation, interview potential witnesses, and meet with the defendant.

 3                  d. Counsel for the defendant believes the failure to grant a continuance in this case

 4                     would deny defense counsel reasonable time necessary for effective preparation,

 5                     taking into account the exercise of due diligence

 6                  e. The government does not object to the continuance.

 7          3.      Based on the above-stated findings, the ends of justice served by continuing the case as

 8 requested outweigh the interest of the public and the defendant in a trial within the original date

 9 prescribed by the Speedy Trial Act.

10          4.      For the purpose of computing time within which trial must commence under the Speedy

11 Trial Act, 18 U.S.C. § 3161, et seq., the time period between July 11, 2019 and July 26, 2019 inclusive,

12 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results

13 from a continuance granted by the Court at defendant’s request on the basis of the Court’s finding that

14 the ends of justice served by taking such action outweigh the best interest of the public and the

15 defendant in a speedy trial.

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      Stipulation and [Proposed] Order                   2
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             Case 2:15-cr-00189-KJM Document 156 Filed 07/15/19 Page 3 of 4


 1          5.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

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 5 IT IS SO STIPULATED.

 6                                                           MCGREGOR W. SCOTT
                                                             United States Attorney
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 8   Dated: July 11, 2019                                    /s/ Michael M. Beckwith
 9                                                           MICHAEL M. BECKWITH
                                                             Assistant United States Attorney
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     Dated: July 11, 2019                                    /s/ Shari Rusk
12                                                           SHARI RUSK
13                                                           Attorney for defendant
                                                             Jeremy Warren
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      Stipulation and [Proposed] Order                   3
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              Case 2:15-cr-00189-KJM Document 156 Filed 07/15/19 Page 4 of 4


 1                                         FINDINGS AND ORDER

 2          The Court, having read and considered the parties’ Stipulation, which this Court incorporates by

 3 reference to this Order in full, hereby finds and orders the following:

 4          1.     The status conference set for July 12, 2019 is vacated;

 5          2.     A status conference is scheduled for July 26, 2019; and

 6          3.     In consideration of the reasons set forth in the parties’ Stipulation, the Court finds that the

 7 ends of justice served by continuing the case as requested outweigh the interest of the public and the

 8 defendant in a trial within the original date prescribed by the Speedy Trial Act, and time between July

 9 11, 2019 and July 26, 2019, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

10 Code T4].

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12          IT IS SO FOUND AND ORDERED.

13          Dated: July 12, 2019

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      Stipulation and [Proposed] Order                   4
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